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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

Jerry Hofrock,

 P/,aintiff,
 v.
                                                            Civil Action No. 1:22-cv-00900-RP
 Freedoin Mortgage Corporation,

 De endant.

                   MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

          Stephen Casey, Movant herein, files this Motion for Leave to Withdraw as Counsel and

respectfully shows the Court as follows:
                                                        i
          I. Movant requests leave of Court to withc�raw as attorney of record for Jerry Hofrock in

this cause.                                             \

          2. Movant states the following facts which Jstablish good cause for this request:

(a) Jerry Hofrock desires to pursue an objective with which the Movant has fundamental

disagreement.

          3. A copy of this Motion has been delivered to.Jerry Hofrock.




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         4. Jerry Hofrock has been notified in writing of the right to object to this Motion.

          5. The last known address for.Jerry Hofrock is:



          6. Jerry Hofrock AGREES to this Motion as indicated by Jerry Hofrock's signature

below.

          7. The following are all or the pending settings and deadlines in this cause: 14-day

response on motion to dismiss due on October 6, 2022.

          8. This Motion is not filed for delay only.
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Case 1:22-cv-00900-RP Document 6 Filed 10/06/22 Page 3 of 3
